                     Case 16-26619-SMG          Doc 55     Filed 07/29/21       Page 1 of 3

                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                                                                  CASE NO.: 16-26619-BKC-SMG
                                                                               PROCEEDING UNDER CHAPTER 13

IN RE:

RONALD JOSEPH
XXX-XX-0472

_____________________________/
DEBTOR

           TRUSTEE'S MOTION TO DEVIATE FROM PLAN AND DEEM CLAIM WITHDRAWN
           AND CERTIFICATE OF SERVICE OF COURT GENERATED NOTICE OF HEARING

    Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced case ("Trustee"), hereby files the
Trustee's Motion to Deviate From Plan ("Motion") and Deem Claim Withdrawn and Certificate of Service
of Court Generated Notice of Hearing pursuant to 11 U.S.C. §§ 502 and 1329 and Federal Rules of
Bankruptcy Procedure 2002 and 3007, and states:

   1. The Debtor filed a voluntary Chapter 13 Petition on December 16, 2016.

   2. The Debtor's Chapter 13 Plan was confirmed on April 13, 2017.

   3. Space Coast Credit Union ("Creditor"), Account #5221, has filed a Proof of Claim, Court Claim #3
      ("Claim"), but refuses to accept payments from the Trustee and the Debtor has not modified the Plan
      accordingly.

   4. The Trustee requests permission to deviate from the Plan and disburse payments allocated to
      Creditor to pay administrative, secured, and priority creditors more quickly (if applicable) and
      increase the amount paid to allowed unsecured creditors by the balance due to Creditor for the
      remainder of the Plan term.

   5. The Trustee requests the Debtor be required to continue making payments under the Plan and not
      increase or decrease those payments unless further ordered by this Court.

    WHEREFORE the Trustee respectfully requests this Honorable Court grant the Motion and enter an
Order Deviating from the Plan, deeming the Claim withdrawn, allowing the Trustee to disburse payments
allocated to Creditor to pay administrative, secured and priority creditors more quickly (if applicable) and
increase the amount paid to allowed unsecured creditors by the balance due to Creditor for the remainder of
the Plan term, require the Debtor to continue making payments under the Plan until further order of this
Court, and for such other and further relief as the Court deems just and proper.
                      Case 16-26619-SMG      Doc 55    Filed 07/29/21    Page 2 of 3
                                                                                        MOTION TO DEVIATE
                                                                                 CASE NO.: 16-26619-BKC-SMG

     I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Deviate From Plan and Deem Claim Withdrawn and Certificate of Service of Court Generated Notice of
Hearing was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed below
this 29th day of July, 2021.

                                                                 /s/ Robin R. Weiner
                                                                 _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154


                                             SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
RONALD JOSEPH
16258 SW 28TH COURT
MIRAMAR, FL 33027-5211

ATTORNEY FOR DEBTOR
MATTHEW MAZUR, JR., ESQUIRE
2645 EXECUTIVE OARK DRIVE
SUITE 110
WESTON, FL 33331

CREDITOR
Space Coast Credit Union
POB 419001
Melbourne, FL 32941-9001

ADDITIONAL CREDITORS
Space Coast Credit Union
8045 N Wickham Road
Melbourne, FL 32940

Space Coast Credit Union
c/o Blaxberg, Grayson & Kukoff, P.A.
25 SE Second Avenue Suite 730
Miami, FL 33131
                      Case 16-26619-SMG   Doc 55   Filed 07/29/21   Page 3 of 3
                                                                                  MOTION TO DEVIATE
                                                                           CASE NO.: 16-26619-BKC-SMG

Timothy M. Antonition, President
8045 N. Wickham Road
Space Coast Credit Union
Melbourne, FL 32940-7920
